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June 11, 2020

Honorable Edgardo Ramos
United States District Judge
Southern District of New York

40 Foley Square
New York, New York 10007

Re: United States v. David Pike, Case No. 17-cr-630 (ER)

Dear Judge Ramos:

This firm represents David Pike who has been charged in a criminal information
with conspiracy to commit bank fraud in violation of Title 18 USC §371. A change
of plea control date is currently set for June 24, 2020.

Given the current coronavirus pandemic and the nationwide shutdown, we request
that the guilty plea control date be continued for approximately 90 days.
Undersigned counsel and Mr. Pike, who lives with his wife and two children, have
followed appropriate sheltering and distancing procedures since the onset of the
coronavirus crisis and are reluctant to travel unnecessarily until safe to do so. In
addition, since counsel and the defendant have sheltered in place in different parts of
the country for the past 10 weeks, the ability to finalize the expected plea agreement
has been impacted. The requested continuance will afford the parties the time
necessary to finalize plea negotiations and safely appear before the court.

Undersigned counsel has conferred with Assistant United States Attorney Nicholas
Folly, who consents to the requested continuance on behalf of the United States. In
addition, Mr. Pike agrees that the time between June 24" and the new control date be
excluded from Speedy Trial.

Therefore, it is respectfully requested that the court enter an order continuing the

June 24, 2020, change of plea control date for approximately 90 days.

Respectfully submitted,

/s/ MARTIN R. RASKIN

 

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